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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,
                                        Plaintiff



 RAJ PATEL,                                         No. 1:20-cv-07311-LAK
                            Intervenor-Plaintiff


          v.


 DONALD J. TRUMP, in his personal
 capacity,
                               Defendant


                      MOTION FOR COURT-APPOINTED COUNSEL

       I, Raj K. Patel (pro se), after reviewing Dkts. 35 & 36 and after contacting over fifty (50)

law firms and failing to secure assistance of legal counsel, in a related case, move this Court for

court-appointed assistance of legal counsel, per my right to Fifth or Fourteenth Amendment Due

Process(es) right to fair trial and other proceedings, for the administration of justice. U.S. const.

amends. V & XIV. See also Fed. R. Civ. P. 8(e). See also Doe et al. v. The Trump Corp. et al., No.

1:18-cv-09936-LGS (S.D.N.Y. 20__), appeal denied, No. 20-1706 (2d Cir. 20__), pending cert.,

No. __-___ (U.S. 20__) (attached with a similar motion for court-appointed counsel).



Dated: October 28, 2020



                                                      Respectfully submitted,
Case 1:20-cv-07311-LAK Document 37 Filed 10/28/20 Page 2 of 4




                                 /s/ Raj K. Patel
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                                 Pro se


                                 J.D. Candidate, Notre Dame L. Sch. 2021 or
                                     2022
                                 President/Student Body President, Student
                                     Gov’t Ass’n of Emory U., Inc. 2013-
                                     2014
                                 Student Body President, Brownsburg Cmty.
                                     Sch. Corp./President, Brownsburg High
                                     Sch. Student Gov’t 2009-2010
                                 Rep. from the Notre Dame L. Sch. Student
                                     B. Ass’n to the Ind. St. B. Ass’n 2017
                                 Deputy Regional Director, Young
                                     Democrats of Am.-High Sch. Caucus
                                     2008-2009
                                 Co-Founder & Vice Chair, Ind. High Sch.
                                     Democrats 2009-2010
                                 Vice President of Fin. (Indep.), Oxford C.
                                     Republicans of Emory U., Inc. 2011-
                                     2012
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                                CERTIFICATE OF SERVICE

I, Raj K. Patel, certify that I filed the preceding Motion for Court-Appointed Counsel by e-mail,
and I certify that I provided notice of filing to all counsel of record listed below by e-mail:

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         Case 1:20-cv-07311-LAK Document 37 Filed 10/28/20 Page 4 of 4




Dated: October 27, 2020



                                          Respectfully submitted,




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                                              Republicans of Emory U., Inc. 2011-
                                              2012
